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                        IN THE UNITED STATED DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


 SYMBOLOGY INNOVATIONS, LLC          §
                                     §
       Plaintiff,                    §                Case No: 2:15-cv-01865-JRG-RSP
                                     §
 vs.                                 §                LEAD CASE
                                     §
 THE HAIN CELESTIAL GROUP, INC,      §
                                     §
       Defendant.                    §
 ___________________________________ §

 UNOPPOSED MOTION TO DISMISS DEFENDANT THE HAIN CELESTIAL GROUP,
                     INC. WITHOUT PREJUDICE

        Plaintiff Symbology Innovations, LLC hereby moves to dismiss this civil action without

 prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii).      The parties are near completion of

 negotiating a settlement agreement that will resolve all matters between the parties. Plaintiff

 intends to file a motion to dismiss the lawsuit with prejudice upon execution of a final settlement

 agreement.

        Wherefore, Plaintiff requests that the Court dismiss Plaintiff’s claims against Defendant

 The Hain Celestial Group, Inc. without prejudice.
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 Dated: June 10, 2016                           Respectfully submitted,


                                                /s/ Jay Johnson
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                                                ATTORNEYS FOR PLAINTIFF


                               CERTIFICATE OF CONFERENCE

 The undersigned certifies that on June 10, 2016, he met and conferred with counsel for Defendant
 concerning this motion and that Defendant’s counsel agreed to the motion.

                                                /s/ Jay Johnson
                                                Jay Johnson


                                  CERTIFICATE OF SERVICE

         This is to certify that a true and correct copy of this document has been served on all counsel
 of record via electronic mail through Local Rule CV-5(a) on June 10, 2016.

                                                /s/ Jay Johnson
                                                Jay Johnson
